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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                     )
                                                         )
                                                         )
                   Plaintiff,                            )
                                                         )
 v.                                                      )   Case No. 4:17-cv-00454-GKF-jfj
                                                         )
 1) CASTLE HILL STUDIOS LLC                              )
    (d/b/a CASTLE HILL GAMING);                          )
 2) CASTLE HILL HOLDING LLC                              )
    (d/b/a CASTLE HILL GAMING); and                      )
 3) IRONWORKS DEVELOPMENT, LLC                           )
    (d/b/a CASTLE HILL GAMING)                           )
                                                         )
                   Defendants.                           )

                   DECLARATION OF GARY RUBMAN IN SUPPORT OF PLAINTIFF’S
                      RESPONSE AND BRIEF IN OPPOSITION TO DEFENDANT’S
                             MOTION TO EXCLUDE YORAM WIND

              1.     I am an attorney with the law firm of Covington & Burling LLP, counsel for

      Plaintiff Video Gaming Technologies, Inc. (“VGT”).

              2.     Attached as Exhibit A is a true and correct copy of the Corrected Report of Dr.

      Yoram Wind Regarding Likelihood of Confusion Between VGT and CHG Electronic Gaming

      Machines, dated September 24, 2018. The original version of this Report was dated August 10,

      2018.

              3.     Attached as Exhibit B is a true and correct copy of the Reply Expert Report of

      Dr. Yoram Wind, dated September 14, 2018.

              4.     Attached as Exhibit C is a true and correct copy of excerpts from the deposition

      testimony of Dr. Yoram Wind, dated September 20, 2018.

              5.     Attached as Exhibit D is a true and correct copy of excerpts from the deposition

      testimony of James T. Berger, dated September 26, 2018.
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          6.     Attached as Exhibit E is a true and correct copy of a Memorandum by Dr. Yoram

   Wind entitled, “August 10, 2018 Report on Likelihood of Confusion Between VGT and CHG

   Electronic Gaming Machines,” dated September 25, 2018 and provided to CHG

   contemporaneously with his Corrected Report (Exhibit A).

          7.     Attached as Exhibit F is a true and correct copy of the Opening Expert Report of

   Stacy Friedman, dated August 10, 2018.

          8.     Attached as Exhibit G is a true and correct copy of a Castle Hill Gaming EGM

   Performance Report, which was produced by CHG during discovery, and is marked with Bates

   numbers CHG0023339-352.

          9.     Attached as Exhibit H is a true and correct copy of excerpts from the deposition

   testimony of Richard Sisson, dated April 17, 2018.

          10.    Attached as Exhibit I is a true and correct copy of an excerpt from the website of

   James T. Berger.

          11.    Attached as Exhibit J is a true and correct copy of a 2016 VGT Gaming Patron

   Profile, which was produced by VGT during discovery and is marked with Bates number

   VGT0006959-70.

          12.    Attached as Exhibit K is a true and correct copy of excerpts from CHG’s Third

   Supplemental Objections and Responses to Plaintiff’s First Interrogatories to Defendants.

          13.    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on November 16, 2018 in Washington, District of Columbia.

                                                /s/ Gary M. Rubman
                                                Gary M. Rubman




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on November 16, 2018, I filed a redacted version of the foregoing

   Declaration of Gary M. Rubman via ECF, which caused service to be effected on the following

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                                                       /s/ Gary M. Rubman

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